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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                  TERRE HAUTE DIVISION

IN RE:                                               )      CASE NO. 18-80520-JJG-11
                                                     )
HOMECARE ADVANTAGE, LLC                              )
                                                     )
         Debtor.                                     )


                        CORPORATE OWNERSHIP STATEMENT

      As required by Fed.R.Bankr.P. 1007(a)(1), the Debtor in this case now files this Corporate
Ownership Statement and reports as follows:

        Debtor is a “corporation” as that term is defined in 11 U.S.C. § 101(9) but has no entities
to report under Fed.R.Bankr.P. 7007.1.


Date: August 27, 2018                                /s/ Barry Martin
                                                     Barry Martin, Manager
                                                     Homecare Advantage LLC
